             Case 6:20-bk-00142-KSJ         Doc 8     Filed 02/06/20     Page 1 of 25




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                                 CASE NO.: 20-bk-00142-KSJ
                                                                                      CHAPTER 7
 Raymond J. Keller
          Debtor.
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
           paper without further notice or hearing unless a party in interest files a response
           within twenty one (21) days from the date set forth on the attached proof of service,
           plus an additional three days for service if any party was served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response with the
           Clerk of the Court at George C. Young Federal Courthouse, 400 W. Washington
           Street, Suite 5100, Orlando, FL 32801 and serve a copy on the movant’s attorney,
           Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL, 6409
           Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate persons
           within the time allowed. If you file and serve a response within the time permitted,
           the Court will either schedule and notify you of a hearing, or consider the response
           and grant or deny the relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will consider that
           you do not oppose the relief requested in the paper, will proceed to consider the
           paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, Quicken Loans Inc., by and through the undersigned counsel, hereby

moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification of the automatic stay

provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Raymond J. Keller, filed a voluntary petition pursuant to Chapter 7 of the

       United States Bankruptcy Code on January 10, 2020.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and


                                                                                              20-00142
                                                                                             16-019270
                                                                                                  MFR
        Case 6:20-bk-00142-KSJ          Doc 8     Filed 02/06/20     Page 2 of 25




   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On January 22, 2013, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $263,532.00 to

   Quicken Loans Inc. The Mortgage was recorded on January 28, 2013, in Book 10511 at

   Page 7860 of the Public Records of Orange County, Florida. The loan was transferred to

   Secured Creditor. True and accurate copies of documents establishing a perfected security

   interest and ability to enforce the terms of the Note are attached hereto as Composite

   Exhibit “A.” The documents include copies of the Note with any required indorsements,

   Recorded Mortgage, Assignment(s) of Mortgage, and any other applicable documentation

   supporting the right to seek a lift of the automatic stay and foreclose, if necessary.

5. The mortgage provides Secured Creditor a lien on the real property located at 5815

   BRIAR DR ORLANDO Florida 32819 in Orange and legally described as stated in the

   mortgage attached in Composite Exhibit “A.”

6. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since April 1, 2016.

7. The appraised value of the property is $215,990.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

8. Based upon the Debtor(s)’ schedules, the property is claimed as exempt. The Trustee has

   not abandoned the property



                                                                                             20-00142
                                                                                            16-019270
                                                                                                 MFR
        Case 6:20-bk-00142-KSJ          Doc 8     Filed 02/06/20     Page 3 of 25




9. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

10. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

11. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

12. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

   incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

   and protecting the property, all of which additional sums are secured by the lien of the

   mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

   alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

   pending or subsequent foreclosure proceeding.

13. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.



                                                                                          20-00142
                                                                                         16-019270
                                                                                              MFR
            Case 6:20-bk-00142-KSJ         Doc 8    Filed 02/06/20        Page 4 of 25




       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: February 5, 2020

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com




                                                                                          20-00142
                                                                                         16-019270
                                                                                              MFR
           Case 6:20-bk-00142-KSJ        Doc 8    Filed 02/06/20    Page 5 of 25




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 5, 2020, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Raymond J. Keller
5815 Briar Drive
Orlando, FL 32819

Paul L Urich
Law Office of Paul L Urich PA
1510 East Colonial Drive
Suite 204
Orlando, FL 32803

Carla P Musselman
1619 Druid Road
Maitland, FL 32751

United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@rasflaw.com




                                                                                        20-00142
                                                                                       16-019270
                                                                                            MFR
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 6 of 25




                  EXHIBIT “A”
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 7 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 8 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 9 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 10 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 11 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 12 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 13 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 14 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 15 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 16 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 17 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 18 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 19 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 20 of 25
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 21 of 25




                   EXHIBIT “B”
012312424                         Case 6:20-bk-00142-KSJ                         Doc 8       56Filed
                                                                                                0589 902/06/20
                                                                                                       9                  Page 22 of 25


          ;EKDLMEN              ;KOEN?;EKDLM           PEN@OHN           wV$x&V'y#2&z$V(#{!V(            QI?RKSCD<HEN                                      ;<=>?@A?BCD?EFGCH<BIJJJ

   GKaEbNc                                     qMIN<LKO?;HDEEH?geeDENN
                                                                                                                   ?         ?
   dEOOED?PKIaC>e?f                            ^]Y^?iD<KD?jD                                                       ?         ?
   QK<O<>=?geeDENN?h>?R<OE                     qCNHKO?r<HI?K>e?s<ALCeE
   ^]Y^?iD<KD?jD?                              hDOK>eCk?RO?\[]Ym                                                   ?         ?
   hDOK>eCk?Rl?\[]YmFnn_Y?                     qDCAEDHI?tNE
   o>LCDDELH?QK<O<>=?geeDENNp                  _Y_\?F?;<>=OE?RKa?rOKNN?ooo                                         ?         ?
                                               Q@><L<AKO<HI
                                               t>Fo>LCDACDKHEe
  ?
  u)&v#+,56#wV$x&V'y#2&z$V(#{!V(
     wV$x&V'y#|&!'}V&" ¬KO@ENk?¡EaAH<C>N?K>e?KEN ~!&"#.*!y")"                                       $z!')$*#*$       !V&'#~'!'"      tAeKHE?o>BCDaKH<C>
   )"'$V)z!#u!}&#!*(#-! #U&*&)'"#                                                                       !"#$%&"'&!(#)*#+,+, +,56#-! #UV&!($v*
  -! #0&!V#u!}&"                         !*(         U})()*"     |&!'}V&"      !V&'#u!}& .""&""&(#u!}&
  +,56                           ][k___  YYkY\_  Ynk]_  [Y^kmm_ b^Jc 599 bYJmc
  +,58                           n[k___  YYZkZ\n  Y]k[__  [_Zk\n b[Yc 588 b[JYc
  +,59                           ^k___  m\km[[  Y]k^Z_  Y]kZ[ bZJc 5+55, b[JYc
  +,5:                           ^_k___  m[kY_n  Y]k]]_  Y_km]n                                5+66
  -! #0&!V#U&*&)'"                V))*!#$%&"'&!( .(()')$*!# '&V#1 &%x')$*"              ~ #{!x           -! #~!)*"
  +,56                                   [^k___  [^k___                      _  n]k^Z\  5655
  +,58                                   [^k___  [^k___                      _  mkn^\  5989
  +,59                                   [^k___  [^k___                      _  \k\^[  5+T,
  +,5:                                   [^k___  [^k___                      _  \Yk^mZ  556+
  +,56#-! !&#u!}&#!*(#{&V'))&(#-! &"#                                      -./#01.233433+,5633733+,5833733+,5933733+,5:
  -! )*#.}'$V)'y                                .""(#u!}& 1 &%x')$* -! #u!}&          )!&#2!'&          -! &"
  q@O<L?;LMCCON?iI?;HKHE?lK?bPOEc              Y\nkZZn [^k___ YY[kZZn            \J]Y_ bFZJmc 5:[n?
  q@O<L?;LMCCON?iI?lCLKO?iCKDe                  Y\nkZZn [^k___ YY[kZZn            \J[Z]_ b_J__c :T+[\?
  hDK>=E?rC@>HI?bE>EDKOc                         Y\nkZZn ^_k___ ]nkZZn             ZJZ\Zn b_J__c 898,[Z?
  t><>LCDACDKHEe?rC@>HI?R<DE                      Y\nkZZn ^_k___ ]nkZZn             [J[Z\n b_J__c 56:+,Y[?
  t><>LCDACDKHEe?K<>=?j<NHD<LH                  Y\nkZZn ^_k___ ]nkZZn             YJ]_Z\ b_J__c 5T998Y_?
  l<DKDI?F?hAEDKH<>=?i@e=EH                      Y\nkZZn ^_k___ ]nkZZn             _J\nZ] b_J__c +98[?
  ;C@HM?ROCD<eK?KHED?QK>K=EaE>H?j<NHD<LH         Y\nkZZn ^_k___ ]nkZZn             _JYY^[ bFZJnYc 5,,9Y?
  ;C@HM?ROCD<eK?ae?h EELMCEE?iKN<>              Y\nkZZn ^_k___ ]nkZZn             _JY[Z bFZJ]mc 5,6,Y?
  ;C@HM?ROCD<eK?ae?¡SED=OKeEN?rC>NH              Y\nkZZn ^_k___ ]nkZZn             _J_\mn bFZJ]_c 9_?
                                                                                 5:+:,               5T686
  +,56#¢$*£.(#u!$V&%#.""&""%&*'"
  &y)*#.}'$V)'y                                      .""&""%&*'#W&"zV)x')$*                                                      ¤*)'"       2!'&                      .""&""%&*'
  rhtG¥?;q¡rogl?g;;¡;;Q¡G                              ;P¡¡?lo¦;?F?;P¡¡?lo¦;?F?bZ_nc]\F^nn_                               YJ__        Z]J__                        8,,
  rhtG¥?;q¡rogl?g;;¡;;Q¡G                              g;¡?qPh?F?gPig¡?F?bZ_nc]\F_Y                                         YJ__        [\_J__                      +,,,
                                                                                                                                                                          +98,,

                                                                                                               +,56#§V$""#-! #-$'!#̈333#589:6#
                                                                                                               +,56#-! #~!)*"#-! #~!)*"
                                                                                                               ¥C@D?ADCAEDHI?HKEN?<HMC@H?EEaAH<C>N?C@Oe?E??\k^_]Jmn
                                                                                                               ¥C@­
                                                                                                                  D?KeFSK
                                                                                                                          OCD9
                                                                                                                             E®ADC¯AEDHI?H°K±?<
                                                                                                                              a?                      HM?E²EaAH<C>N?<N © Yk^m]J\m
                                                                                                                  )()
                                                                                                               wV$  ²*#
                                                                                                                        ®³0$}#
                                                                                                                            ´.#¯~!)*"
                                                                                                                                         ±#    ¨®®¯9 ª 565,·T8
                                                                                                                  µ¯±¶
                                               M<N?jKHK?qD<>HEe?C>?_Y«[m«[_[_?K>e?;INHEa?jKHK?lKNH?PEBDENMEe?C>?_Y«[]«[_[_

 11 91 91 9 92                                                                                                                                      012
Case 6:20-bk-00142-KSJ   Doc 8   Filed 02/06/20   Page 23 of 25




                  EXHIBIT “C”
           Case 6:20-bk-00142-KSJ        Doc 8     Filed 02/06/20   Page 24 of 25




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 IN RE:                                                              CASE NO.: 20-bk-00142
                                                                             CHAPTER 7
 Raymond J. Keller
        Debtor,
 _________________________________/

            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Quicken Loans Inc’s (“Secured
Creditor”) Motion for Relief from Stay (Docket No. ##). No appropriate response has been filed
in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at 5815 BRIAR DR ORLANDO in
       Orange County, Florida, and legally described as:


                                               1
           Case 6:20-bk-00142-KSJ         Doc 8      Filed 02/06/20   Page 25 of 25




   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.
   6. This Court makes no determination that the Debtor has defaulted on the underlying
       obligation.


                                               ###
Attorney, Christopher P. Salamone, is directed to serve a copy of this order on interested parties
that do not receive electronic notice via CM/ECF and file a proof of service within 3 days of
entry of the order.




                                                2
